                         Case 1-19-44540-cec               Doc 1        Filed 07/25/19           Entered 07/25/19 13:29:10



Fill in this information to identify your case:

United States Bankruptcy Court for the:

EASTERN DISTRICT OF NEW YORK

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/19
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Cong. Khal Chasidei Skwere

2.   All other names debtor       DBA     Tomer Devora School
     used in the last 8 years     DBA     Yeshiva Bais Yitzchok
                                  DBA     Skwere Mosdos
     Include any assumed
     names, trade names and       DBA     Mesivta Bais Yitchok
     doing business as names      DBA     Camp Skwere
                                  DBA     Camp Bnos Skwere

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  1334 47th Street
                                  Brooklyn, NY 11219
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Kings                                                           Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  4500 9th Ave
                                                                                                  1420 45th Street
                                                                                                  1411-45th Street Brooklyn, NY 11219
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    Cong. Khal Chasidei Skwere                                                                    Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:
                                                                  Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                  are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                  business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                  statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                  procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a                          Eastern District of
     separate list.                               District   New York                      When       7/20/11                    Case number   1-11-46263
                                                  District                                 When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                     Relationship
                                                  District                                 When                              Case number, if known




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Debtor   Cong. Khal Chasidei Skwere                                                                Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                       50-99                                            5001-10,000                                 50,001-100,000
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor    Cong. Khal Chasidei Skwere                                                               Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      July 25, 2019
                                                  MM / DD / YYYY


                             X   /s/ Shlomo Kolodny                                                       Shlomo Kolodny
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Administrator




18. Signature of attorney    X   /s/ Mark Frankel                                                          Date July 25, 2019
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Mark Frankel
                                 Printed name

                                 Backenroth Frankel & Krinsky, LLP
                                 Firm name

                                 800 Thrid Avenue
                                 New York, NY 10022
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (212) 593-1100                Email address


                                 1989 NY
                                 Bar number and State




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 Fill in this information to identify the case:
 Debtor name Cong. Khal Chasidei Skwere
 United States Bankruptcy Court for the: EASTERN DISTRICT OF NEW                                                                                      Check if this is an
                                                YORK
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Avigdor Berkowitz                                                                                                                                                      $460,000.00
 1164 53 Street
 Bklyn, NY 11219
 Budget Maintenance                                                                                                                                                         $6,906.89
 1034 39 Street
 Bklyn, NY 11219
 CHAYA BLAU                                                      0                                                                                                          $7,000.00
 5118 14TH AVE
 Apt 2B
 Brooklyn, NY 11219
 Con Edison                                                                                                                                                               $12,715.94
 Cooper Station
 POB 138
 New York, NY 10276
 Con Edison                                                                                                                                                               $12,352.10
 Cooper Station
 POB 138
 New York, NY 10276
 Con Edison                                                                                                                                                               $14,459.39
 Cooper Station
 POB 138
 New York, NY 10276
 Esther Klein                                                                                                                                                           $200,000.00
 1529 52 Street
 Bklyn, NY 11219
 FRAIDA FRIEDMAN                                                 0                                                                                                        $13,640.00
 1643 E. 21ST ST
 Brooklyn, NY 11230
 GOLDY FEFER                                                     0                                                                                                          $7,835.00
 1543 49TH ST
 Brooklyn, NY 11219
 Jacob Feldman                                                                                                                                                          $500,000.00
 1161 45 Street
 Bklyn, NY 11219
 LIBA STEIN                                                      0                                                                                                          $7,395.00
 4812 14TH AVE
 Brooklyn, NY 11219


Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    Cong. Khal Chasidei Skwere                                                                         Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 M. Reichberg                                                                                                                                                           $195,000.00
 1731 45 Street
 Bklyn, NY 11204
 N.S.T. Trans                                                                                                                                                             $11,009.25
 9804 Ditmas Avenue
 Bklyn, NY 11236
 RIVKA TAUB                                                      0                                                                                                        $13,140.45
 1364 E 7TH ST
 BROOKLYN, NY
 11230
 Roth & Co. CPA                                                                                                                                                           $60,000.00
 1428 36th Street
 Suite 200
 Brooklyn, NY 11218
 RUCHI SAFRIN                                                    0                                                                                                        $13,015.00
 1655 55TH ST
 BROOKLYN, NY
 11219
 SARAH BERMAN                                                    0                                                                                                          $6,994.00
 784 E 4TH ST
 Brooklyn, NY 11218
 SYLVIA KATZ                                                     0                                                                                                        $12,196.35
 1336 53RD ST
 Brooklyn, NY 11219
 Tiferes Elimelech                                               Rent for Tomer                                                                                           $90,000.00
 1650 56th Street                                                Devora High
 Brooklyn, NY 11204                                              School
 Wexal Investors LLC                                             Mesivta Bais                                    $3,698,311.24             $1,000,000.00              $2,698,311.24
 Wexel Inverstors                                                Yitzchok
 LLC                                                             1420 45th Street
 c/oKriss &                                                      Brooklyn, NY
 Feuerstein LLP                                                  11219
 360 Lexington Ave
 New York, NY 10017




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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                   United States Attorney
                   Eastern District of New York
                   147 Pierrepont Plaza
                   Brooklyn, NY 11201



                   State of New York
                   Attorney General's Office
                   120 Broadway
                   New York, NY 10271



                   NYS Dept of Tax & Finance
                   Bankruptcy Unit
                   PO Box 5300
                   Albany, NY 12205



                   United States of America
                   c/o U.S. Attorney
                   86 Chambers Street
                   New York, NY 10007



                   Internal Revenue Service
                   c/o US Attorney Claims Unit
                   One Saint Andrews Plaza Rm 417
                   New York, NY 10007



                   Cong. Khal Chasidei Skwere
                   1334 47th Street
                   Brooklyn, NY 11219



                   ADEL LIEBERMAN
                   4402 17TH AVE
                   BROOKLYN, NY 11204



                   ADELE NEUHAUS
                   5023 14TH AVE
                   Apt B6
                   Brooklyn, NY 11219
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               AGI ROSENBERG
               196 LEE AVE
               Brooklyn, NY 11211



               ANNA LINDNER
               1566 41ST ST
               BROOKLYN, NY 11218



               ANTHONY STERN
               1549 46TH ST
               Brooklyn, NY 11219



               Avigdor Berkowitz
               1164 53 Street
               Bklyn, NY 11219



               Aviv Glass
               5521 Ft. Hamilton Pkwy
               Bklyn, NY 11219



               BAILA BURGER
               1425 53RD ST
               Brooklyn, NY 11219



               BAILA ELIAS
               1441 45TH ST
               Brooklyn, NY 11219



               BASYA WEISSMAN
               5808 13TH AVE
               Brooklyn, NY 11219



               BATYA GERENDASI
               1724 60TH ST
               Brooklyn, NY 11204
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               BINA PASKES
               35 HEYWARD ST
               Brooklyn, NY 11211



               BRACHA BINDER
               1434 E 13TH ST
               Brooklyn, NY 11230



               Budget Maintenance
               1034 39 Street
               Bklyn, NY 11219



               CHANA FLIEGMAN
               1609 46TH ST
               Brooklyn, NY 11204



               CHANA KOHN
               4608 10TH AVE
               Brooklyn, NY 11219



               CHANA MORGENSTERN
               1715 57TH ST
               Brooklyn, NY 11204



               CHANA ROTH
               522 DAHILL RD
               Brooklyn, NY 11218



               CHANA WANCHOTZKER
               239 FRANKLIN AVE
               Brooklyn, NY 11205



               CHANI TENENBAUM
               1606 47TH ST
               BROOKLYN, NY 11204
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               CHAVA HECHT
               1740 58TH ST
               Brooklyn, NY 11204



               CHAVA LEVINE
               1057 54TH ST
               Brooklyn, NY 11219



               CHAYA BERMAN
               784 E 4TH ST
               Brooklyn, NY 11218



               CHAYA BLAU
               5118 14TH AVE
               Apt 2B
               Brooklyn, NY 11219



               CHAYA KAHAN
               1850 52ND ST
               Brooklyn, NY 11204



               CHAYA NUSSBAUM
               1439 42ND ST
               Brooklyn, NY 11219



               CHAYA OBSTFELD
               1637 44TH ST
               BROOKLYN, NY 11204



               CHAYA STEIN
               1323 46TH ST
               Brooklyn, NY 11219



               CLAIRE LIEBERMAN
               1624 48TH ST
               Brooklyn, NY 11204
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               Con Edison
               Cooper Station
               POB 138
               New York, NY 10276



               D. MARYL
               4919 11TH AVE
               Brooklyn, NY 11219



               D. MONHEIT
               1769 51ST ST
               Brooklyn, NY 11204



               DEBORAH GOLDBERGER
               1714 52ND ST
               Brooklyn, NY 11204



               DEVORA BRETTER
               3821 15TH AVE
               Apt 38
               Brooklyn, NY 11218



               DEVORAH BAUER
               5118 11TH AVE
               Brooklyn, NY 11219



               DINA KLUGHAUPT
               1333 51ST ST
               Brooklyn, NY 11219



               DINA MAYER
               1578 40TH ST
               Brooklyn, NY 11218



               ELISHEVA BREUER
               801 MADISON AVE
               Apt C5
               Lakewood, NJ 08701
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               ESTHER BRANDWEIN
               1043 50TH ST
               Brooklyn, NY 11219



               ESTHER KIRZNER
               1674 45TH ST
               Brooklyn, NY 11204



               Esther Klein
               1529 52 Street
               Bklyn, NY 11219



               ESTHER MARTON
               1425 59TH ST
               Brooklyn, NY 11219



               ESTHER MAYER
               1504 40 ST
               BROOKLYN, NY 11218



               ESTHER MERMELSTEIN
               1238 56TH ST
               Brooklyn, NY 11219



               ESTHER ROTTENBERG
               1319 45TH ST
               BROOKLYN, NY 11219



               ESTHER TRAINER
               1864 49TH ST
               Brooklyn, NY 11204



               ESTY TAUB
               4114 15TH AVE
               Brooklyn, NY 11219
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               EZRA KATZ
               1336 53RD ST
               Brooklyn, NY 11219



               F. BORCHARDT
               2116 78TH ST
               Brooklyn, NY 11214



               FAIGY COHEN
               1679 53RD ST
               Brooklyn, NY 11204



               FAIGY NAGEL
               1425 51ST ST
               BROOKLYN, NY 11219



               FRADEL WEISBERG
               4614 10TH AVE
               Brooklyn, NY 11219



               FRAIDA FRIEDMAN
               1643 E. 21ST ST
               Brooklyn, NY 11230



               FRAIDY EINHORN
               5601 14TH AVE
               Brooklyn, NY 11219



               FRAIDY LANDAU
               1528 49TH ST
               Brooklyn, NY 11219



               FRUMA SCHORR
               1146 56TH ST
               BROOKLYN, NY 11219
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               FRUME KUPETZ
               1538 37TH ST
               Brooklyn, NY 11218



               GE Capital
               POB 642111
               Pittsburgh, PA 15264



               GITTEL BRISK
               1152 49TH ST
               Brooklyn, NY 11219



               GITTEL EHRENFELD
               1655 46TH ST
               Brooklyn, NY 11204



               GITTEL EHRLICH
               2238 85TH ST
               Brooklyn, NY 11214



               GITTY SALAMON
               115 DIVISION AVE
               Apt 3K
               Brooklyn, NY 11211



               GIZELLA FUCHS
               923 E. 12TH ST
               Brooklyn, NY 11230



               GOLDY FEFER
               1543 49TH ST
               Brooklyn, NY 11219



               GOLDY HIRSCHBERG
               478 E. 9TH ST
               Brooklyn, NY 11218
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               HENCHE SCHONBLUM
               4515 12TH AVE
               Brooklyn, NY 11219



               HENDEL GOLDSTEIN
               1321 45TH ST
               Brooklyn, NY 11219



               HENDY BREUER
               201 PENN ST
               Brooklyn, NY 11211



               HENNA MONTAG
               5016 10TH AVE
               BROOKLYN, NY 11219



               HENNY FISHMAN
               1430 44TH ST
               Brooklyn, NY 11219



               Jacob Feldman
               1161 45 Street
               Bklyn, NY 11219



               JITA MOTZEN
               4801 11TH AVE
               Brooklyn, NY 11219



               LAYA GOLDNER
               1620 40TH ST
               Brooklyn, NY 11218



               LEAH FRIEDMAN
               16 IRENE CT
               Lakewood, NY 08701
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               LEAH MUTZEN
               2039 53RD ST
               BROOKLYN, NY 11204



               LEAH RENNERT
               710 E 7TH ST
               Brooklyn, NY 11218



               LEAH UNSDORFER
               4418 12TH AVE
               Brooklyn, NY 11219



               LIBA STEIN
               4812 14TH AVE
               Brooklyn, NY 11219



               LONNA LABKOVSKY
               571 OCEAN PKWY
               Brooklyn, NY 11218



               M. FINK
               1545 39TH ST
               Brooklyn, NY 11219



               M. GOLDSTEIN
               1783 45TH ST
               Brooklyn, NY 11204



               M. Reichberg
               1731 45 Street
               Bklyn, NY 11204



               MALKA BRAILOFSKY
               1942 51ST ST
               Brooklyn, NY 11204
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               MALKA OVITS
               1117 48TH ST
               Brooklyn, NY 11219



               MALKA SILBIGER
               4701 15TH AVE
               Brooklyn, NY 11219



               MALKA SPITZER
               1104 56TH ST
               BROOKLYN, NY 11219



               MALKA WOLPIN
               4702 12TH AVE
               Brooklyn, NY 11219



               MARCI OZUR
               393 E. 3RD ST
               BROOKLYN, NY 11218



               MICHLY BAKON
               1254 42ND ST
               Apt A4
               Brooklyn, NY 11219



               MIREL B. TWERSKY
               1522 50TH ST
               Brooklyn, NY 11219



               MIREL TWERSKI
               1419 45TH ST
               BROOKLYN, NY 11219



               MIRIAM HOLCZLER
               1230 42ND ST
               Brooklyn, NY 11219
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               MIRIAM GLANCZ
               1213 54TH ST
               Brooklyn, NY 11219



               MIRIAM KRAUS
               1515 47TH ST
               Brooklyn, NY 11219



               MIRIAM L DEUTSCH
               1469 47 ST
               Brooklyn, NY 11219



               MIRIAM MULLER
               1471 46TH ST
               Brooklyn, NY 11219



               MIRIAM RUBIN
               1102 54TH ST
               BROOKLYN, NY 11219



               MORD TWERSKY
               1522 50TH ST
               Brooklyn, NY 11219



               N.S.T. Trans
               9804 Ditmas Avenue
               Bklyn, NY 11236



               Neiman Security
               922 45 Street
               Bklyn, NY 11219



               ORA LAUER
               9 WEST MAPLE AV
               MONSEY, NY 10952
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               PEREL SEKULA
               5014 11TH AVE
               Brooklyn, NY 11219



               PERL EICHLER
               1238 41ST ST
               Brooklyn, NY 11219



               RACHEL E BRULL
               1329 59TH ST
               Brooklyn, NY 11219



               RACHEL MONHEIT
               1769 51ST ST
               Brooklyn, NY 11204



               RACHEL SCHWARTZ
               1333 51ST ST
               Brooklyn, NY 11219



               RAIZEL LIPSCHUTZ
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                                                               United States Bankruptcy Court
                                                                      Eastern District of New York
 In re      Cong. Khal Chasidei Skwere                                                                     Case No.
                                                                                    Debtor(s)              Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Cong. Khal Chasidei Skwere in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 July 25, 2019                                                         /s/ Mark Frankel
 Date                                                                  Mark Frankel
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